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    CASE NUMBER:         CV 15-00105 JMS-RLP
    CASE NAME:           David Alexander Neuman vs. Jeffrey Marc Herman, et al.


       JUDGE:      J. Michael Seabright          DATE:            03/07/2017


COURT ACTION: EO: On February 10, 2017, Plaintiff filed a Motion for Dismissal
with Prejudice, representing that pursuant to a settlement of claims, all parties, except
Defendant Michael F. Egan, seek dismissal of this action. ECF No. 104; see Pl.’s
Ex. “B,” ECF No. 104-3 (stipulation of all parties except Defendant Egan seeking
dismissal based on settlement of all claims. Defendant Egan’s counsel in a separate
bankruptcy action does not oppose dismissal of this action, but is not authorized to appear
in this court to make such representation. Pl.’s Ex. “C,” ECF No. 104-4. On
February 13, 2017, this court directed Defendant Egan to file a response to the Motion by
February 27, 2017. ECF No. 105. The court warned that “[i]f Defendant Egan fails to
file a timely response, the action will be dismissed.” Id.

Defendant Egan failed to file a response to the Motion. Therefore, based on the
representations in the Motion and Defendant Egan’s failure to file a response, the court
GRANTS Plaintiff’s Motion to Dismiss with Prejudice. Each party shall bear their own
attorneys’ fees and costs. The Clerk of Court is directed to close the case.




Submitted by: Shelli Mizukami, Courtroom Manager
